 Case 23-60148        Doc 173      Filed 10/27/23 Entered 10/27/23 12:49:26         Desc Main
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SIGNED THIS 27th day of October, 2023


THIS ORDER HAS BEEN ENTERED ON THE DOCKET.
PLEASE SEE DOCKET FOR ENTRY DATE.




                          UNITED STATES BANKRUPTCY COURT
                            WESTERN DISTRICT OF VIRGINIA

In re:                          )
                                )
TOMMY DEWAYNE DOBSON )                                      Chapter 11
ANNE CHRISTINE DOBSON,          )                           Case No. 23-60148
91 Beaver Dam Court             )
Keswick, VA 22947               )
xxx-xx-7152                     )
xxx-xx-6517                     )
                                )
       Debtors.                 )
______________________________)
                                )
TOMMY DEWAYNE DOBSON )
ANNE CHRISTINE DOBSON,          )
                                )
       Debtors/Objecting Party, )
                                )
       v.                       )
                                )
JUANITA HAYDEL,                 )
                                )
       Claimant/Respondent.     )
______________________________)

                             ORDER SUSTAINING OBJECTION TO
                             PRIORITY PORTION OF CLAIM NO. 30

         The matter before the Court is the Objection to Claim No. 30 (the “Objection”) [Docket

No. 155], filed Tommy Dewayne Dobson and Anne Christine Dobson, the debtors and debtors-

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in-possession (the “Debtors”), in the above captioned case, on October 2, 2023, requesting entry

of an order disallowing the priority portion of the Proof of Claim No. 30 (the “Claim”) filed by

Juanita Haydel.

       Upon due consideration of the Court, having reviewed the record and finding no response

to the Debtors’ Objection, it is hereby

                              ORDERED, ADJUDGED and DECREED

   1. The Objection is SUSTAINED, and the priority portion of the Claim is disallowed.

   2. This matter having been resolved by this Order, the hearing on the Objection scheduled

for November 2, 2023, at 11:00 am, by Zoom video conferencing is cancelled and removed from

the Court’s hearing docket.

                                          End of Order

I ASK FOR THIS:

/s/ David Cox
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